    Case: 1:19-cv-03865 Document #: 33 Filed: 05/15/20 Page 1 of 4 PageID #:111




                         IN THE UNITED STATED DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 STEVE SCHMIDT,                                   )
                                                  )
      Plaintiff,                                  )   Case No.: 19 cv 03865
                                                  )
         v.                                       )   Honorable Sharon Johnson Coleman
                                                  )
 ZOLL MEDICAL CORPORATION,                        )   Magistrate Judge Susan E. Cox
                                                  )
     Defendant.                                   )
                                                  )

                                    JOINT STATUS REPORT

       Pursuant to the Court’s Third Amended General Order 20-0012, the Parties have conferred

and jointly submit this Joint Status Report.

       (a)         Progress of Discovery.

       The Parties have exchanged and responded to written discovery.

       Prior to the onset of the COVID-19 pandemic, the Parties were preparing to commence

oral discovery.       Plaintiff’s deposition, originally scheduled for March 3, 2020, had to be

rescheduled due to Plaintiff’s and his son’s illness. Plaintiff’s rescheduled deposition was then

postponed due to the pandemic. At present, Plaintiff seeks to depose three individuals, one current

ZOLL employee and two former ZOLL employees (one of whom lives out of state). Though the

Parties had several conversations about scheduling these depositions prior to the pandemic, these

depositions are currently unscheduled. The Parties both prefer that the depositions take place in-

person rather than remotely, if possible.

       Pursuant to the Court’s Amended, Second Amended, and Third Amended General Order

20-0012, the fact discovery deadline currently is extended to July 27, 2020.




                                                 1
    Case: 1:19-cv-03865 Document #: 33 Filed: 05/15/20 Page 2 of 4 PageID #:112




       (b)     Status of Briefing on Any Unresolved Motions.

       There are no unresolved motions pending at this time.

       (c)     Settlement Efforts.

       The Parties have not engaged in settlement discussions thus far. The Court previously

ordered that after Plaintiff’s deposition took place, Plaintiff was to make a settlement demand and

Defendant was to respond within a certain time frame; these dates were then revised after the

rescheduling of Plaintiff’s deposition. See Dkt. 24 and Dkt. 28. The Parties propose that Plaintiff

make a settlement demand within seven (7) days of the completion of Plaintiff’s deposition and

for Defendant to respond within fourteen (14) days of receipt of Plaintiff’s demand.

       (d)     Agreed Proposed Schedule for the Next 45 Days.

       Over the next 45 days, the Parties propose that they confer to determine new dates for the

depositions of Plaintiff and the remaining fact witnesses and to begin such depositions, if possible.

       (e)     Agreed Proposed Revised Discovery and Dispositive Motion Schedule.

       As set forth above, fact discovery is currently set to close July 27, 2020. The Parties request

that the fact discovery deadline be extended by an additional 45 days, to September 10, 2020.

       (f)     Request Any Agreed Action that the Court Can Take Without a Hearing.

       The Parties do not request any agreed action by the Court without a hearing, other than

extending the fact discovery deadline as set forth above.

       (g)     Telephonic Hearing.

       The Parties do not request a telephonic hearing at this time.



                            [SIGNATURES ON THE NEXT PAGE]




                                                 2
   Case: 1:19-cv-03865 Document #: 33 Filed: 05/15/20 Page 3 of 4 PageID #:113




Dated: May 15, 2020                        Respectfully submitted,


/s/ Jaclyn N. Diaz                         /s/ Orly Henry
Jaclyn N. Diaz                             Todd Church
jdiaz@efoxlaw.com                          tchurch@littler.com
Ed Fox & Associates, Ltd.                  Orly Henry
300 W. Adams Street, Suite 330             ohenry@littler.com
Chicago, Illinois 60606                    LITTLER MENDELSON P.C.
                                           321 North Clark Street, Suite 1000
Counsel for Plaintiff                      Chicago, Illinois 60654
                                           (312) 372-5520

                                           Counsel for Defendant




                                       3
    Case: 1:19-cv-03865 Document #: 33 Filed: 05/15/20 Page 4 of 4 PageID #:114




                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that, on May 15, 2020, she caused a copy of the

foregoing Joint Status Report to be filed electronically with the Clerk of the Court using the Court’s

CM/ECF system, and notification of such filing was sent to the following:


                                          Jaclyn N. Diaz
                                       jdiaz@efoxlaw.com
                                    Ed Fox & Associates, Ltd.
                                  300 W. Adams Street, Suite 330
                                      Chicago, Illinois 60606



                                                      /s/ Orly Henry




                                                  4
